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' UNITED STATES BANKRUPTCY COURT ’ _ ,_
FOR THE NORTHERN DISTRICT OF FLORIDA ' 1 ' '

PENSACOLA DIVISION :
IN RE:
TEENA RUTH MCKINNEY ' d CASE NO 19-30022~KKS ,A ?"
AKA‘TEENA R. MCKINNEY ` ' 5 ' “
' CHAPTER: 7
DEBTOR(S). \ . ` ` `

/

AFFIDAVIT OF MOVANT IN SUPPORT OF MOTION »
FOR RELIEF FROM STAY AS T() SURRENDERED PROPERTY /`

STATE OF FLORIDA
COUNTY OF HILLSBOROUGH

BEFORE ME, the undersigned authority personally appeared Ella Roberts,l Esg. `
(“Affiant”), Who upon being duly sworn and upon oath, deposes and says: §-"
l. I am an attorney for Albertelli LaW, the law firm filing a Motion for Relief from Stay

on behalf'Wells Fa`rgo Bank N.A (“l\/loyant”), in this case.

2. This Affidavit is in support of the l\/lotion for Relief from Stay filed in this action by
l\/lovant.

3. The Affiant has reviewed the Debt'or’s Voluntary Petition. According to the.Deb'.tor’s¥ ‘

Stateinent of Intentions, the Dehtoi"s intends to surrender the following real propei’t`y:

LOT 35 OF LANTERN RIDGE SUBD|\J!S|ON UN|T TWO ACCORD\NG TO THE PL_AT

THEREOF AS RECORDED lN F’LAT BOOK 11 PAGE(S) 46 AND 47 OF THE PUBL|C-
RECORDS OF GKALOOSA COUNTY FLOR¥DA.

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AKA: lz4 Palmetto Drive, Crestview, Florida 32539

4. As of the date-of this aft`ldavit, l have eXainined the CM/ECF docket for this case and

/W',,M

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Afda“t% §§ /f:d// %

Ella Roberts, Esq.
Print or Type Narne

 

FURTHER AFFIANT SAYETH NAUGHT. 9

 

THE FOREGOING INSTRUl\/IENT WAS SWORN TO AND SUBSCRIBED before me this y
30th day of January, 2019 Ella Roberts, Esq. WHO IS PERSONALLY KNOWN TO l\/[E AND

WHo DID TAKE AN oATH.
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NoTARY`i>UBLTC
My Commission Expires:

v;‘:"{ PUs{/o NICOLE A. ALL|GOOD

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* .‘_ l *MY COMM|SSION # GG 035298
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"`OF F\°% Bonded Thm Budget No\ery Services

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